        Case: 13-56069, 11/16/2016, ID: 10199784, DktEntry: 72, Page 1 of 1




                              FOR PUBLICATION                              FILED
                   UNITED STATES COURT OF APPEALS                            NOV 16 2016

                           FOR THE NINTH CIRCUIT                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS




RETAIL DIGITAL NETWORK, LLC,                     No.   13-56069

              Plaintiff-Appellant,               D.C. No.
                                                 2:11-cv-09065-CBM-PJW
 v.                                              Central District of California,
                                                 Los Angeles
TIMOTHY GORSUCH, as Director of
the California Department of Alcoholic
Beverage Control,                                ORDER

              Defendant-Appellee.


THOMAS, Chief Judge:

      Upon the vote of a majority of nonrecused active judges, it is ordered that

this case be heard en banc pursuant to Federal Rule of Appellate Procedure 35(a)

and Circuit Rule 35-3. The three-judge panel opinion shall not be cited as

precedent by or to any court of the Ninth Circuit.

      Judge Owens did not participate in the deliberations or vote in this case.
